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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: AVANDIA MARKETING, SALES
PRACTICES AND PRODUCTS LIABILITY: MDL No. 1871
LITIGATION : 07-md-01871

THIS DOCUMENT APPLIES TO:
ALL ACTIONS

CASE MANAGEMENT ORDER NO. 1
AND NOW, this 28th day of February 2008, upon consideration of the Order of the
Judicial Panel on Multidistrict Litigation [Doc. No. 1], it is hereby ORDERED as follows:

1. APPLICABILITY OF ORDER. This Order shall govern the practice and procedure
in the actions transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to
its order of October 16, 2007, all related actions originally filed in this Court or transferred or
removed to this Court, and any “tag-along” actions transferred to this Court by the Judicial Panel on
Multidistrict Litigation pursuant to Rule 12 of the Rules of Procedure of the Panel, subsequent to the
filing of the final transfer order by the Clerk of this Court. The current list of such cases is attached
hereto as “Schedule A.”

2. CONSOLIDATION. The actions described in Paragraph One of this Order are
CONSOLIDATED for pretrial purposes.

A. FUTURE ACTIONS. Any “tag-along” action later filed in, removed to or
transferred to this Court, or related cases directly filed in the Eastern District of Pennsylvania, shall

automatically be assigned to the undersigned and be consolidated with this action.
-1-

EXHIBIT

if

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expenses incurred in performing the services of liaison counsel shall be shared equally by all
members of the liaison group in a manner agreeable to the parties or established by the Court failing
suchagreement. At the first conference, liaison counsel and the parties should be prepared to discuss
any additional matters consistent with the efficient operation of this function.

On or before Tuesday, March 25, 2008, at 1:00 P.M., plaintiffs shall confer and
submit three (3) candidates, if possible, for the position of liaison counsel. Each candidate’s name
shall be submitted to the Court with a current curriculum vitae and any other pertinent information
for the Court to consider. Applications for the position of liaison counsel which were submitted
prior to the entry of this Order must be resubmitted by plaintiffs counsel in order to be considered
by the Court.

In accordance with the designation of the defendant, the Court hereby APPOINTS
Pepper Hamilton LLP as liaison counsel for the defendant. Copies of all correspondence,
submissions or filings directed to this Court and related to this Multidistrict Litigation shall be served
on the following:

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